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ATTORNEY FOR JOSEPH DUANE FOLKERTS



                           IN THE UNITED STATES DISTRICT
                        COURT FOR THE DISTRICT OF OREGON
                                PORTLAND DIVISION


 UNITED STATES OF AMERICA,                      3-18-cr-00319 - JO

       Plaintiff,                               DECLARATION OF COUNSEL IN
                                                SUPPORT OF UNOPPOSED MOTION TO
               vs.                              ALLOW FILING UNDER SEAL

 JOSEPH DUANE FOLKERTS,

       Defendant.



      I, Laurie Bender, P.C., being first duly sworn do hereby declare the following is

true and correct to the best of my knowledge:

      1.      I am court-appointed counsel for the defendant in this matter. I was

appointed to represent the defendant pursuant to the Criminal Justice Act, 18 USC §

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3006A (e) (2), by the Honorable Robert E. Jones, United States Senior District Judge,

effective February 7, 2019.

          2.    The defendant is accused by way of Superseding Indictment of

Racketeering Conspiracy, in violation of 18 U.S.C. §1962(d); Murder in Aid of

Racketeering, in violation of 18 U.S.C. §1959(a)(1) and 18 U.S.C. §2; Kidnapping in Aid

of Racketeering, Resulting in Death, in violation of 18 U.S.C. §1959(a)(1) and 18 U.S.C.

§2; Kidnapping Resulting in Death, in violation of 18 U.S.C. §§1201(a)(1) and 2; and

Conspiracy to Commit Kidnapping, Resulting in Death, in violation of 18 U.S.C.

§§1201(a)(1) and 1201(c).

          3.    Mr. Folkerts requests that the defendant’s Motion for Review of Detention

and Release on Pretrial Pursuant to 18 U.S.C. § 3142 be filed under seal because it relates

to records and information that have been produced under a protective order and other

confidential information that should not be made public.

          4.    The Government, represented by AUSA Steven Mygrant, is not opposed to

this motion to seal.

          5.    The above information is true and correct to the best of my information and

belief.

          Dated this 26th of August 2019.


                                            /s/ Laurie Bender
                                            Laurie Bender, OSB #881570
                                            Attorney for Defendant
                                            JOSEPH DUANE FOLKERTS


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